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                                                                         Office of Enforcement and Removal Operations
                                                                         Field Office New York City

                                                                         U.S. Department of Homeland Security
                                                                         26 Federal Plaza, Suite 1105
                                                                         New York, NY 10278




                                                                                        November 22, 2024

Hannah Rosner, Esq.
Brooklyn Defender Services
177 Livingston St, 7th Floor
Brooklyn, NY 11201

Re: Release Request for CANALES MOLINA, Milton A094 008 098

Dear Counselor Rosner,

U.S. Immigration and Customs Enforcement (ICE) has reviewed your client's case for
consideration as to whether to release him from custody pending the resolution of his removal
proceedings.

I have carefully reviewed your client's medical status, immigration, and criminal history, as
well as the basis for the charges under which his removal is being sought. In addition, I have
carefully considered all supporting documents that you provided in your release request.

The release of an individual from detention is generally justified only on a case-by-case basis
for humanitarian reasons or significant public benefit, provided the non-citizen presents neither
a security risk nor a risk of absconding.

As you are aware, your client was arrested and charged with criminal possession of a weapon
and was convicted of criminal possession weapon- 4th: firearm/weapon and was sentenced to
term: time served, and for the crime of illegal re-entry after deportation. Your client also has an
Interpol Warrant in El Salvador for murder.

I find no compelling reason to warrant a favorable exercise of discretion in this case.

Accordingly, your request for your client's release is denied in that they have not demonstrated
that they are not a flight risk nor a danger to the community. ICE will continue to review your
client's case consistent with the existing law and policy. Please be advised that there is no
administrative appeal of this decision. If additional information is needed, you can contact
Deportation Officer Morrow at nycdetaineeinquiry@ice.dhs.gov.

                                                        Sincerely,
                                                                                  Digitally signed by WILLIAM P
                                                         WILLIAM P JOYCE JOYCE
                                                                         Date: 2024.12.02 17:17:29 -05'00'


                                                        Kenneth Genalo
                                                        Field Office Director

                                                                         www.ice.gov
